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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 21-80779-CIV-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  104 ANDOVER COURT LLC, et al.,

        Defendants.
  _______________________________________________/

                            ORDER REQUIRING RESPONSE TO
                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         THIS CAUSE is before the Court upon a sua sponte examination of the record. Plaintiff

  filed a Motion for Summary Judgment [ECF No. 27] (“Motion”), on September 24, 2021. Pursuant

  to the Court’s Order Setting Briefing Schedule [ECF No. 22], Defendants’ combined response to

  the Motion was due on October 25, 2021. Defendants have failed to respond to the Motion by the

  applicable deadline or to request an additional extension of time in which to do so.

         Accordingly, it is ORDERED AND ADJUDGED that Defendants must file their response

  to the Motion no later than November 5, 2021. If Defendants fail to file a response, the Court

  shall consider the merits of the Motion without the benefit of a response or responses, and such

  failure may be deemed sufficient cause to grant the motion by default. See S.D. Fla. L.R. 7.1(c).

         DONE AND ORDERED at Fort Pierce, Florida, this 27th day of October 2021.



                                                          _________________________________
                                                          AILEEN M. CANNON
                                                          UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
